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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

BONNY EDWARD TAYLOR,                      )
as the Personal Representative            )
and Administrator of the ESTATE           )
of ALMUS REED TAYLOR,                     )
                                          )
       Plaintiff,                         )
                                          )               CIVIL ACTION NO.
v.                                        )             2:14-cv-1163-WKW-KFP
                                          )
HENRY P. HUGHES, et al.,                  )
                                          )
       Defendants.                        )

      DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO STRIKE
       AND DEFENDANTS’ MOTION TO STRIKE PLAINTIFF’S CLAIMS,
     REQUESTS FOR DAMAGES, AND REQUESTS FOR ATTORNEYS FEES

       COME NOW, Defendants Ben Hunter, Bill Blue, and Roy Parker and both respond

to Plaintiff’s Motion to Strike their affirmative defenses, (Doc. 286), and move to strike

Plaintiff’s claims, request for damages, and attorneys’ fees. Additionally, because

Plaintiff’s claims are due to be stricken, Defendants move for dismissal of this action. As

grounds, Defendants state as follows:

                                        ARGUMENT

       Plaintiff’s claims, requests for damages, and requests for attorneys’ fees are due to

be stricken on the same basis Plaintiff has moved to strike Defendants’ affirmative

defenses. Plaintiff’s motion to strike moves this Court strike Defendants’ affirmative

defenses of contributory negligence and assumption of the risk because defenses were not
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expressly set out in the pretrial order. (Doc. 286 – Pg. 4.) Plaintiff’s motion specifically

argues:

         [Defendants’] affirmative defenses should be struck because they were not
         raised as defenses by the Defendants in this Court’s Pretrial Order. (Doc.
         248) Specifically, the Defendants did not assert them in their ‘Contentions’
         nor anywhere else in the Order. Raising these affirmative defenses now is
         untimely and thus they should be struck.”

(Doc. 286 – Pg. 5.) “Those who live in glass houses should not throw stones.” While

Plaintiff accurately points out that these affirmative defenses were not specifically stated

in the pretrial order, Plaintiff fails to recognize that he is identically situated with

Defendants regarding the level of specificity in the Contentions portion of the Pretrial

Order.

         Plaintiff has failed to assert any claims in his “Contentions” or anywhere else in this

Court’s Pretrial Order. Plaintiff, likewise, has failed to assert or specify any damages

anywhere the Pretrial Order. Plaintiff has also failed to assert any request for attorneys’

fees anywhere in the Pretrial Order. Thus, in accordance with Plaintiff’s argument for

striking Defendants’ affirmative defenses, Plaintiff’s claims, requests for damages, and any

request for attorneys’ fees are untimely and due to be stricken. Case law supports the

conclusion that Plaintiff has abandoned his claims by omitting them from the Pretrial

Order. See State Treasurer of State of Michigan v. Barry, 168 F.3d 8, 9-10 (11th Cir. 1999)

(concluding a plaintiff abandoned claims by not including them in pretrial order); Olmsted

v. Taco Bell Corp., 141 F.3d 1457, 1462 (11th Cir. 1998) (concluding a plaintiff abandoned

§ 1981 claim by omitting it entirely from the pretrial order); Walker v. Anderson Elec.

Connectors, 944 F.2d 841, 844 (11th Cir. 1991) (denying a plaintiff’s post-trial motion to

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amend the pretrial order that omitted a demand for declaratory and injunctive relief);

Crayton v. Alabama Dep’t of Agric. & Indus., 589 Supp. 2d 1266, 1275 (M.D. Ala. 2008);

Hendricks v. Baptist Health Services, 278 F.Supp.2d 1276, 1284 n.19 (M.D. Ala. 2003)

(concluding a plaintiff had abandoned numerous race discrimination claims by, inter alia,

not including them in the pretrial order); Bivins v. Jeffers Vet Supply, 873 F.Supp. 1500,

1510 (M.D. Ala. 1994) (finding plaintiff abandoned §§ 1981 and 1983 claims when they

were not included in pretrial order). Because Plaintiff has abandoned all claims by omitting

them from the Pretrial Order, Defendants request this Court issue an order dismissing the

case with prejudice.

       Alternatively, should this Court determine that Plaintiff’s claims have not been

abandoned by omitting them from the Pretrial Order, then Defendants’ affirmative

defenses, likewise, have not been abandoned. The Pretrial Order incorporates the pleadings

of the Parties including “[t]he Complaint, Amended Complaints, and all discovery and

responses thereto.” (Doc. 248 – Pg. 2.) Thus, all complaints and responsive pleading

thereto appear to have been incorporated into the Pretrial Order. Although not specifically

identified in the Pretrial Order, this would appear to include the Third Amended Complaint

and the Answer to the Third Amended Complaint, which contains Defendants’ affirmative

defenses of contributory negligence and assumption of the risk. (Doc. 56; Doc. 107 p. 7.)

Prior to the Pretrial Order, the Third Amended Complaint was the operative complaint and

superseded all preceding complaints. (Doc. 56.) The Third Amended Complaint asserted:

(1) 42 U.S.C. § 1983 – deliberate indifference to a serious medical need; (2) negligence

and wantonness against Defendants Hughes, Blue, Hunter, and Parker that was alleged to

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cause the decedent’s death. (Doc. 56 pp. 9–12.) However, none of these causes of action

were explicitly asserted in the Pretrial Order. (Doc. 248.) Indeed, the Pretrial Order even

fails to explicitly cite the Third Amended Complaint, instead opting for the generic

descriptor “Complaints [and] Amended Complaints.” (Doc. 248 – Pg. 2.) Defendants

cannot realistically be expected to expressly plead affirmative defenses in the Pretrial Order

when the Plaintiff does not explicitly assert his claims against them. There is effectively

nothing to affirmatively defend against.

       Plaintiff’s motion additionally argues Defendants’ affirmative defenses are due to

be stricken as “both require the Defendants to show that Almus Taylor knew that he had a

lacerated liver and appreciated that these Defendants would deny him medical attention,

and that as a consequence, he would die.” (Doc 286 – Pg. 3.) A case cited by Plaintiff,

however, shows that such is not the case: “To establish contributory negligence . . . a

defendant . . . must show that the plaintiff put himself in danger’s way and that the plaintiff

had a conscious appreciation of the danger at the moment the incident occurred.” Burleson

v. RSR Group Florida, Inc., 981 So.2d 1109 (Ala. 2007). In this case, Almus Taylor drank

to an extreme level of intoxication, drove in this state of intoxication, drove a truck without

properly functioning seatbelts or doors, got into an accident that resulted in him being

ejected from his truck, returned to the truck and continued driving, declined treatment from

EMS, and declined to be taken to the hospital. More significantly, although he had been

ejected from his truck, Taylor failed to report this fact to the investigating officer, EMS

personnel, or at the jail. Taylor is the only person who could have had a conscious



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appreciation of the danger posed by his vehicular accident because he was the only one

present and he failed to tell anyone.

       For the aforementioned reasons, this Court should grant Defendants’ Motion to

Strike. Should this Court determine that Plaintiff’s claims have not been abandoned, then

this Court should, likewise, conclude that Defendants’ affirmative defenses have not been

abandoned and deny Plaintiff’s motion to strike.

       Respectfully submitted this 12th day of May 2021.

                                        s/J. Randall McNeill
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                          CERTIFICATE OF SERVICE

       I hereby certify that on May 12, 2021, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which will send notification of
such filing to the following:

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